         Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 1 of 51




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 GIANNA WHEELER,                                  :
                                                  :
            Plaintiff,                            :
                                                  :
 v.                                               :    Civil Action No. 1:20-cv-2735 (CRC)
                                                  :
 AMERICAN UNIVERSITY, et al.                      :
                                                  :
            Defendants.                           :

                             AMERICAN UNIVERSITY, ET AL.’S
                           ANSWER TO PLAINTIFF’S COMPLAINT

       Defendants American University, Jeffrey Brown, Kevin Barrett, Michael Vena, and Joseph

Joyner (collectively “the AU Defendants”) by counsel, Carr Maloney P.C., and pursuant to the

Federal Rules of Civil Procedure, submit this Answer to Plaintiff Gianna Wheeler’s Complaint,

and state as follows:

I.     INTRODUCTION

       1.        The allegations in paragraph 1 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, the

allegations in paragraph 1 are denied.

       2.        Other than the physical description of Plaintiff and the allegation that Plaintiff’s

door was locked, both of which the AU Defendants admit, the AU Defendants are without

sufficient information to admit or deny the allegations in paragraph 2 and, therefore, deny same.

       3.        The AU Defendants admit only that American University Police Department

officers had lawful access to the apartment and lawfully entered the apartment. The remaining

allegations in paragraph 3 are denied.
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 2 of 51




       4.      The AU Defendants admit only that an American University Police Department

Captain and Lieutenant were present for the alleged incident. The remaining allegations in

paragraph 4 are denied.

       5.      The AU Defendants admit only that American University Police Department

officers had lawful access to the apartment and that they lawfully entered the apartment. The AU

Defendants are without sufficient information to admit or deny the remaining allegations in

paragraph 5 and, therefore, deny same.

       6.      In response to the allegations in paragraph 6 of the Complaint, the AU Defendants

deny that the officers telephoned Defendant Brown as alleged. The AU Defendants are without

sufficient information to admit or deny the remaining allegations in paragraph 6 and, therefore,

deny same.

       7.      In response to the allegations in paragraph 7 of the Complaint, the AU Defendants

deny the conversation with Defendant Brown as alleged. The AU Defendants are without

sufficient information to admit or deny the remaining allegations in paragraph 7 and, therefore,

deny same.

       8.      The AU Defendants admit only that Plaintiff walked into a lab approximately seven

hours earlier and that there was an encounter between Plaintiff and another American University

student during which the other student felt threatened. The AU Defendants are without sufficient

information to admit or deny the remaining allegations in paragraph 8 and, therefore, deny same.

       9.      Defendants admit that the only allegation of physical contact with Plaintiff was a

touching of the shoulder and that this, along with threatening conduct by Plaintiff, constituted an

assault. The AU Defendants are without sufficient information to admit or deny the remaining

allegations in paragraph 9 and, therefore, deny same.



                                                2
           Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 3 of 51




          10.   The allegations in paragraph 10 consist of Plaintiff’s litigation positions to which

no response is required. Defendants admit that Plaintiff did not want to go to the hospital but can

neither admit nor deny the remaining allegations in paragraph 10 and, therefore, deny same.

          11.   The AU Defendants admit only that they sought to meet with Plaintiff in order to:

(i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The AU Defendants further admit that the officers allowed a representative from AU into

Plaintiff’s room. The remaining allegations in paragraph 11 consist of Plaintiff’s litigation

positions to which no response is required. To the extent that a response is required, the remaining

allegations in paragraph 11 are denied.

          12.   The AU Defendants admit only that Director of Resident Life Lisa Freeman

lawfully entered the apartment and lawfully communicated to Plaintiff that she should be evaluated

at a psychiatric facility and that Plaintiff refused. The remaining allegations in paragraph 12 are

denied.

          13.   The allegations in paragraph 13 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, Defendants

can neither admit nor deny the remaining allegations in paragraph 10 and, therefore, deny same.

          14.   The allegations in paragraph 14 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, the AU




                                                  3
         Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 4 of 51




Defendants admit only that the AUPD officers were male and that Plaintiff is a black woman, but

can neither admit nor deny the remaining allegations in paragraph 14 and, therefore, deny same.

        15.     The AU Defendants admit only that American University Police Department

officers had lawful access and lawfully entered the apartment. The AU Defendants further admit

that AUPD Officer Joseph Joyner was present for some of the alleged incident but left at

approximately 7:50 pm and did not return; therefore, as most of the events in the Complaint

occurred after he left, Officer Joyner has no personal knowledge of these events. 1 The remaining

allegations in paragraph 15 consist of Plaintiff’s litigation positions to which no response is

required. To the extent that a response is required, Defendants can neither admit nor deny the

remaining allegations in paragraph 15 and, therefore, deny same.

        16.     The AU Defendants admit only that EMTs came to the apartment. Paragraph 16

cites to and characterizes documents that are not attached to the Complaint. The AU Defendants

are without sufficient information to admit or deny the remaining allegations in paragraph 16 and,

therefore, deny same.

        17.     The AU Defendants admit only that Defendant Brown did not speak to or observe

Plaintiff on September 26, 2019 and deny the allegation regarding the call to Defendant Brown.

The AU Defendants are without sufficient information to admit or deny the remaining allegations

in paragraph 17 and, therefore, deny same.

        18.     The AU Defendants admit only that American University Police Department

officers lawfully handcuffed Plaintiff for her and their safety to escort Plaintiff from the apartment.

The AU Defendants further admit that the officers placed a blanket around Plaintiff because she

removed some of her clothing in the apartment. Paragraph 18 also contains allegations about


1
 This response applies to all allegations against AUPD Officer Joyner and will not be repeated throughout the
Complaint in response to each allegation.

                                                     4
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 5 of 51




videos that are not attached to the Complaint. The AU Defendants deny the reference to “Brown’s

precise instructions” and the phone call itself. The AU Defendants lack sufficient knowledge to

admit or deny the remaining allegations in paragraph 18 and, therefore, deny same.

       19.     The AU Defendants admit only that American University Police Department

officers transported Plaintiff to Washington Hospital Center and, upon information and belief,

Plaintiff remained there for six days. The AU Defendants are without sufficient information to

admit or deny the remaining allegations in paragraph 19 and, therefore, deny same.

       20.     The AU Defendants admit only that Plaintiff was lawfully placed on interim

suspension because she allegedly assaulted another student. American University lawfully

requested that Plaintiff see Dr. Michael Hendricks for an evaluation. The remaining allegations in

paragraph 20 consist of legal conclusions and Plaintiff’s litigation positions to which no response

is required. To the extent that a response is required, the remaining allegations in paragraph 20

are denied.

       21.     The AU Defendants admit only that Plaintiff attended a disciplinary hearing in

October 2019, at which time she was found “not responsible.” The remaining allegations in

paragraph 21 consist of Plaintiff’s litigation positions and legal conclusions to which no response

is required. To the extent that a response is required, Defendants can neither admit nor deny the

remaining allegations in paragraph 21 and, therefore, deny same.

       22.     The allegations in paragraph 22 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, Defendants

can neither admit nor deny the remaining allegations in paragraph 22 and, therefore, deny same.




                                                 5
           Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 6 of 51




          23.   The AU Defendants only admit that Plaintiff is currently enrolled at American

University as a full-time student. The AU Defendants are without sufficient information to admit

or deny the remaining allegations in paragraph 23 and, therefore, deny same.

          24.   The allegations in paragraph 24 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, the

allegations in paragraph 24 are denied.

          25.   The allegations in paragraph 25 consist of Plaintiff’s litigation positions to which

no response is required. To the extent that a response is required, the allegations in paragraph 25

are denied.

          26.   The AU Defendants admit only that they sought to meet with Plaintiff in order to:

(i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The remaining allegations in paragraph 26 consist of Plaintiff’s litigation positions to which no

response is required. To the extent that a response is required, the allegations in paragraph 26 are

denied.

          27.   The allegations in paragraph 27 consist of Plaintiff’s litigation positions and legal

conclusions to which no response is required. To the extent that a response is required, the

allegations in paragraph 27 are denied.




                                                  6
         Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 7 of 51




       28.     The allegations in paragraph 28 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the

allegations in paragraph 28 are denied.

       29.     Paragraph 29 purports to characterize a document that is not attached to the

Complaint. The AU Defendants admit only that the officers on the American University Police

Department are “special police officers” and are not part of the MPD. The AU Defendants are

without sufficient information to admit or deny the remaining allegations in paragraph 29 and,

therefore, deny same.

       30.     The allegations in paragraph 30 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the

allegations in paragraph 30 are denied.

       31.     The allegations in paragraph 31 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the

allegations in paragraph 31 are denied.

II.    JURISDICTION AND VENUE

       32.     The allegations in paragraph 32 consist of legal conclusions to which no response

is required. To the extent that a response is required, the allegations in paragraph 32 are denied.

       33.     The allegations in paragraph 33 consist of legal conclusions to which no response

is required. To the extent that a response is required, the allegations in paragraph 33 are denied.

       34.     The allegations in paragraph 34 consist of legal conclusions to which no response

is required. To the extent that a response is required, the AU Defendants admit only that they were

employed in the District of Columbia and that the events on September 26, 2019 occurred in the




                                                 7
         Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 8 of 51




District of Columbia. The AU Defendants lack sufficient information to either admit or deny the

remaining allegations in paragraph 34 and, therefore, deny same.

III.   THE PARTIES

       35.     Admitted.

       36.     Denied.

       37.     In response to the allegations in paragraph 37, the AU Defendants admit that the

AUPD Officers are University employees who are licensed as Special Police Officers. These

officers wear a uniform but do not carry firearms.

       38.     The AU Defendants admit only that the AUPD Officers are employees in response

to the allegations in paragraph 38. The AU Defendants additionally state that the allegations in

paragraph 38 consist of legal conclusions and Plaintiff’s litigation positions to which no response

is required. To the extent that a response is required, the allegations in paragraph 38 are denied.

       39.     The AU Defendants admit only that Jeffrey Brown is the Dean of Students at

American University. The remaining allegations in paragraph 39 consist of Plaintiff’s litigation

positions and legal conclusions to which no response is required. To the extent that a response is

required, the allegations in paragraph 39 are denied.

       40.     Admitted.

       41.     Admitted.

       42.     Denied.

       43.     The AU Defendants are without sufficient information to admit or deny the

allegations in paragraph 43 and, therefore, deny same.

       44.     The AU Defendants are without sufficient information to admit or deny the

allegations in paragraph 44 and, therefore, deny same.



                                                 8
         Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 9 of 51




        45.    The AU Defendants are without sufficient information to admit or deny the

allegations in paragraph 45 and, therefore, deny same.

        46.    The AU Defendants are without sufficient information to admit or deny the

allegations in paragraph 46 and, therefore, deny same.

        47.    The AU Defendants admit that Plaintiff, a black female and is currently enrolled as

a full-time undergraduate student at American University. The AU Defendants are without

sufficient information to admit or deny the allegations in paragraph 47 and, therefore, deny same.

IV.     THREE INTERRELATED FACTORS UNDERLYING THE VIOLATION OF MS.
        WHEELER’S RIGHTS

        48.    The AU Defendants admit only that that they sought to meet with Plaintiff in order

to: (i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The remaining allegations in paragraph 48 consist of legal conclusions and Plaintiff’s litigation

positions to which no response is required. To the extent that a response is required, the remaining

allegations in paragraph 48 are denied.

        A.     The Danger Police Encounters Pose to Black, Female Citizens and AU’s
               Continuing Problems with Race Relations

        49.    The allegations in paragraph 49 are not directed at the AU Defendants, therefore,

no response is required.     To the extent a response is required, Defendants lack sufficient

information to either admit or deny the remaining allegations in paragraph 49 and, therefore, deny

same.


                                                  9
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 10 of 51




       50.     Paragraph 50 purports to characterize a document that is not attached to the

Complaint. The AU Defendants are without sufficient information to admit or deny the allegations

in paragraph 50. To the extent a response is required, the allegations in paragraph 50 are denied.

       51.     The allegations in paragraph 51 consist of Plaintiff’s litigation positions and does

not contain allegations directed at the AU Defendants, therefore, no response is required. To the

extent a response is required, the allegations are denied.

       52.     The allegations in paragraph 52 consist of Plaintiff’s litigation positions and does

not contain allegations directed at the AU Defendants, therefore, no response is required. To the

extent a response is required, the allegations are denied.

       53.     The allegations in paragraph 53 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants, therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient information to either admit or deny the remaining

allegations in paragraph 53 and, therefore, deny same.

       54.     The allegations in paragraph 54 consist of Plaintiff’s litigation positions,

characterizes documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants, therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient information to either admit or deny the remaining

allegations in paragraph 54 and, therefore, deny same.

       55.     The allegations in paragraph 55 (i-iv) consist of legal conclusions, Plaintiff’s

litigation positions, and video and documents not attached to the Complaint to which no response

is required. To the extent that a response is required, the allegations in paragraph 55 (i-iv) do not

relate to the allegations in Plaintiff’s Complaint and the AU Defendants are without sufficient



                                                 10
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 11 of 51




information to admit or deny the characterizations of the events reflected therein and, therefore,

deny same.

       56.     The AU Defendants admit only that American University Police Department

officers had lawful access to the apartment and lawfully entered the apartment.          The AU

Defendants are without sufficient information to admit or deny the remaining allegations in

paragraph 56 and, therefore, deny same.

       B.      The Danger Police Encounters Pose to People Struggling with Mental Health
               Disabilities and AU’s Mistreatment of Its Students with Mental Health
               Disabilities

       57.     The allegations in paragraph 57 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants, therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 57, and, therefore, deny same.

       58.     The allegations in paragraph 58 consist of Plaintiff’s litigation positions,

characterize a document that is not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 58, and, therefore, deny same.

       59.     The allegations in paragraph 59 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 59, and, therefore, deny same.



                                               11
       Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 12 of 51




       60.    The allegations in paragraph 60 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 60, and, therefore, deny same.

       61.    The allegations in paragraph 61 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 61, and, therefore, deny same.

       62.    The allegations in paragraph 62 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 62, and, therefore, deny same.

       63.    The allegations in paragraph 63 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 63, and, therefore, deny same.

       64.    The allegations in paragraph 64 consist of Plaintiff’s litigation positions,

characterize documents that are not attached to the Complaint, and does not contain allegations

directed at the AU Defendants; therefore, no response is required. To the extent a response is



                                              12
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 13 of 51




required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 64, and, therefore, deny same.

       65.     The AU Defendants admit only that the articles cited in paragraph 65 of Plaintiff’s

Complaint were written, but do not admit to the characterizations of same. The remaining

allegations in paragraph 65 (i-iii) consist of legal conclusions and Plaintiff’s litigation positions to

which no response is required. To the extent that a response is required, the allegations in

paragraph 65 (i-iii) do not relate to the allegations in Plaintiff’s Complaint and the AU Defendants

are without sufficient information to admit or deny the characterizations of the events reflected

therein and, therefore, deny same.

        66.     The AU Defendants admit only that that they sought to meet with Plaintiff in order

to: (i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The American University Defendants lack sufficient knowledge to admit or deny the remaining

allegations in paragraph 66 and, therefore, deny same.

        C.     The Danger Posed by “Special Police” and the Lack of Accountability for
               Special Police

       67.     The allegations in paragraph 67 consist of Plaintiff’s litigation positions,

characterize a document that is not attached to the Complaint, and does not contain allegations

directed at the AU Defendants, therefore, no response is required. To the extent a response is

required, the AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 67, and, therefore, deny same.

                                                  13
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 14 of 51




       68.     The allegations in paragraph 68 consist of legal conclusions, Plaintiff’s litigation

positions, characterize a document that is not attached to the Complaint, and does not contain any

allegations directed at the AU Defendants, therefore, no response is required. To the extent a

response is required, the AU Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 68, and, therefore, deny same.

       69.     The allegations in paragraph 69 consist of legal conclusions, Plaintiff’s litigation

positions, characterize documents that are not attached to the Complaint, and does not contain any

allegations directed at the AU Defendants, therefore, no response is required. To the extent a

response is required, the AU Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 69, and, therefore, deny same.

       70.     The allegations in paragraph 70 consist of legal conclusions, Plaintiff’s litigation

positions, characterize a document that is not attached to the Complaint, and does not contain any

allegations directed at the AU Defendants, therefore, no response is required. To the extent a

response is required, the AU Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 70, and, therefore, deny same.

       71.     The allegations in paragraph 71 consist of legal conclusions, Plaintiff’s litigation

positions, characterize documents that are not attached to the Complaint, and does not contain any

allegations directed at the AU Defendants, therefore, no response is required. To the extent a

response is required, the AU Defendants lack sufficient knowledge to admit or deny the allegations

in paragraph 71, and, therefore, deny same.

       72.     The allegations in paragraph 72 consist of legal conclusions, a partial reference to

municipal regulations, and Plaintiff’s litigation positions to which no response is required. To the

extent a response is required, the allegations are denied.



                                                 14
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 15 of 51




       73.     The AU Defendants admit only that American University includes the American

University Police Department. The remaining allegations are denied.

       74.     The allegations in paragraph 74 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the

allegations are denied.

       75.     The allegations in paragraph 75 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the

allegations are denied.

V.     GIANNA WHEELER

       A.      The Path to American University

       76.     The AU Defendants admit only that Plaintiff is enrolled as a full-time

undergraduate black student at American University and is on scholarship. The AU Defendants

lack sufficient knowledge to admit or deny the remaining allegations in paragraph 76 and,

therefore, deny same.

       77.     The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 77 and, therefore, deny same.

       78.     The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 78 and, therefore, deny same.

       79.     The AU Defendants admit only that Plaintiff is enrolled as a full-time

undergraduate student at American University and is on scholarship. The AU Defendants are

without sufficient information to admit or deny the remaining allegations in paragraph 79 and,

therefore, deny same.




                                                 15
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 16 of 51




       80.     The AU Defendants are without sufficient information to admit or deny the

allegations in paragraph 80 and, therefore, deny same.

       B.      Ms. Wheeler’s American University Experience

       81.     The AU Defendants admit only that Plaintiff began coursework at American

University in the fall of 2017 and that she initially lived in American University on-campus

housing. The remaining allegations in paragraph 81 consist of Plaintiff’s litigation positions to

which no response is required. To the extent a response is required, the remaining allegations in

paragraph 81 are denied.

       82.     The allegations in paragraph 82 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the,

the AU Defendants lack sufficient knowledge to admit or deny the allegations in paragraph 82 and,

therefore, deny same.

       83.     The AU Defendants admit only that Plaintiff had an appointment scheduled with

Defendant Brown. The AU Defendants deny that the meeting was canceled in favor of a white

student. The remaining allegations in paragraph 83 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent that a response is required, the,

the AU Defendants lack sufficient knowledge to admit or deny the remaining allegations in

paragraph 83 and, therefore, deny same.

       84.     The AU Defendants admit only that Plaintiff claimed to a professor that she had a

panic attack before an examination, that Plaintiff left the examination, that the professor denied

Plaintiff’s request to re-take the examination, and that American University professors lawfully

have discretion to permit students to re-take examinations. The remaining allegations in paragraph

84 consist of legal conclusions and Plaintiff’s litigation positions to which no response is required.



                                                 16
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 17 of 51




To the extent a response is required, the AU Defendants lack sufficient knowledge to admit or

deny the allegations in paragraph 84 and, therefore, deny same.

       85.     The allegations in paragraph 85 characterize documents not attached to the

Complaint. The AU Defendants lack sufficient information to admit or deny the allegations in

paragraph 85 and, therefore, deny same.

       86.     The AU Defendants admit only that on February 10, 2019, members of the

American University Police Department responded to Plaintiff’s dorm room in response to a report

of an unwanted guest in Plaintiff’s room. The remaining allegations consist of legal conclusions

and Plaintiff’s litigation positions to which no response is required. To the extent a response is

required, the remaining allegations in paragraph 86 are denied.

       87.     The allegations in paragraph 87 consist of Plaintiff’s litigation positions to which

no response is required. To the extent a response is required, the AU Defendants admit only that

there were five open Title IX complaints in March 2019. The AU Defendants lack sufficient

information to admit or deny the remaining allegations in paragraph 87 and, therefore, deny same.

       88.     The AU Defendants admit only that if the meeting to which Plaintiff refers in

paragraph 88 occurred in April 2019, Defendant Barrett attended the meeting. The AU Defendants

lack sufficient information to admit or deny the remaining allegations in paragraph 88 and,

therefore, deny same.

       89.     In response to the allegations in paragraph 89, the AU Defendants admit only that

Plaintiff lived at the privately-owned Frequency Apartments at the time of the incident that is the

subject of Plaintiff’s Complaint and that the apartments contained a mix of AU students and non-

AU students. The AU Defendants lack sufficient information to either admit or deny the remaining

allegations in paragraph 89 and, therefore, deny same.



                                                17
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 18 of 51




VI.    THE EVENTS OF SEPTEMBER 26, 2019

       90.     In response to the allegations in paragraph 90, the AU Defendants admit only that

American University Police Department officers had lawful access to the apartment, lawfully

entered the apartment, and had a good faith belief that Plaintiff was a danger to herself or others.

The remaining allegations in paragraph 90 consist of legal conclusions and Plaintiff’s litigation

positions to which no response is required. To the extent a response is required, the remaining

allegations in paragraph 90 are denied.

       A.      Hurst Hall

       91.     The AU Defendants admit only that Plaintiff went to a lab in Hurst Hall on

September 26, 2019 The AU Defendants lack sufficient information to admit or deny the remaining

allegations in paragraph 91 and, therefore, deny same.

       92.     Defendants admit that an American University student reported that Plaintiff

touched her shoulder and that this, along with threatening conduct by Plaintiff, constituted an

assault. The AU Defendants lack sufficient information to admit or deny the remaining allegations

in paragraph 92 and, therefore, deny same.

       93.     The AU Defendants admit that on September 26, 2019, a parent of an American

University student contacted the American University Police Department to report an assault

involving Plaintiff against her daughter. Defendants also admit that the student’s mother was not

present at the time of the assault and further admit that the student also spoke with the AUPD on

that date. The remaining allegations in paragraph 93 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

remaining allegations in paragraph 93 are denied.




                                                18
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 19 of 51




       94.     The AU Defendants admit only that the student was not sure about pressing

criminal charges against Plaintiff and ultimately did not do so. The remaining allegations in

paragraph 94 consist of legal conclusions and Plaintiff’s litigation positions to which no response

is required. To the extent a response is required, the AU Defendants lack sufficient information

to admit or deny the remaining allegations in paragraph 94 and, therefore, deny same.

       95.     The AU Defendants admit only that on September 26, 2019, American University

Professor Karen Knee sent an email to American University administrators to report a verbal

interaction between her and Plaintiff. The email was not attached to the Complaint. The AU

Defendants lack sufficient information to admit or deny the remaining allegations in paragraph 95

and, therefore, deny same.

       96.     The AU Defendants admit only that Professor Knee reported her interaction with

Plaintiff in a September 26, 2019 email to American University administrators. The remaining

allegations in paragraph 96 consist of Plaintiff’s litigation positions and characterize a document

that is not attached to the Complaint to which no response is required. To the extent a response is

required, the AU Defendants lack sufficient information to admit or deny the remaining allegations

in paragraph 96 and, therefore, deny same.

       97.     The AU Defendants admit only that Professor Knee reported her interaction with

Plaintiff in a September 26, 2019 email to American University administrators. The remaining

allegations in paragraph 97 consist of Plaintiff’s litigation positions and characterize a document

that is not attached to the Complaint to which no response is required. To the extent a response is

required, the AU Defendants lack sufficient information to admit or deny the remaining allegations

in paragraph 97 and, therefore, deny same.




                                                19
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 20 of 51




       98.      The AU Defendants admit only that Professor Knee reported her interaction with

Plaintiff in a September 26, 2019 email to American University administrators. The remaining

allegations in paragraph 98 consist of Plaintiff’s litigation positions and characterize a document

that is not attached to the Complaint to which no response is required. To the extent a response is

required, the AU Defendants lack sufficient information to admit or deny the remaining allegations

in paragraph 98 and, therefore, deny same.

       B.      AU’s Administrative Decisions

       99.     The AU Defendants admit only that on September 26, 2019, they placed Plaintiff

on interim suspension before making contact with her. The remaining allegations in paragraph 99

consist of legal conclusions and Plaintiff’s litigation positions to which no response is required.

To the extent a response is required, the remaining allegations in paragraph 99 are denied.

       100.    The AU Defendants admit only that they sought to meet with Plaintiff in order to:

(i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The AU Defendants further admit that a meeting took place involving the identified American

University administrators. The remaining allegations in paragraph 100 consist of legal conclusions

and Plaintiff’s litigation positions to which no response is required. To the extent a response is

required, the remaining allegations in paragraph 100 are denied.

       101.    The AU Defendants admit only that they decided to place Plaintiff on interim

suspension before interviewing or observing her after the incident. The remaining allegations in



                                                 20
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 21 of 51




paragraph 101 consist of legal conclusions and Plaintiff’s litigation positions to which no response

is required. To the extent a response is required, the remaining allegations in paragraph 101 are

denied.

          102.   Denied.

          103.   The allegations in paragraph 103 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 103 are denied.

          104.   The AU Defendants admit only that they sought to meet with Plaintiff in order to:

(i) advise her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff

because of: (a) a report of an alleged assault by Plaintiff against another AU student; and (b)

information obtained from Professor Knee. Based on what AUPD observed and their knowledge

of Plaintiff’s prior interaction with the AUPD and others at the University, the AU Defendants had

a good faith belief that Plaintiff was likely to injure herself or others if not immediately detained.

The remaining allegations in paragraph 104 consist of legal conclusions and Plaintiff’s litigation

positions to which no response is required. To the extent a response is required, the remaining

allegations in paragraph 104 are denied.

          105.   The allegations in paragraph 105 consist of legal conclusions, hypotheticals, and

Plaintiff’s litigation positions to which no response is required. To the extent a response is

required, the allegations in paragraph 105 are denied.

          106.   The AU Defendants admit only that they unsuccessfully attempted to contact

Plaintiff by phone to notify her that she was placed on interim suspension because she engaged in

threatening conduct against another AU student that constituted an assault against that student.

The remaining allegations in paragraph 106 consist of legal conclusions and Plaintiff’s litigation



                                                 21
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 22 of 51




positions to which no response is required. To the extent a response is required, the AU Defendants

lack sufficient knowledge to admit or deny the remaining allegations in paragraph 106 and,

therefore, deny same.

       107.    The allegations in paragraph 107 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 107 and, therefore, deny same.

       108.    The AU Defendants admit only that on September 26, 2019, Dean Brown emailed

Plaintiff via “Advocate” at 9:20 p.m. notifying her of an interim suspension. The remaining

allegations in paragraph 108 characterize a document that is not attached to the Complaint. The

AU Defendants lack sufficient knowledge to admit or deny the remaining allegations in paragraph

108 and, therefore, deny same.

       109.    The allegations in paragraph 109 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient information to admit or deny the allegations in

paragraph 109 and, therefore, to the extent the allegations are inconsistent with the referenced

document, deny same.

       110.    The allegations in paragraph 110 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient information to admit or deny the allegations in

paragraph 110 and, therefore, to the extent the allegations are inconsistent with the referenced

document, deny same.

       C.      Unlawful Warrantless Entry

       111.    Denied.

       112.    The AU Defendants only admit that American University Police Department

Officers Barrett, Vena, and Joyner (white males) sought to meet with Plaintiff in order to: (i) advise



                                                 22
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 23 of 51




her that she was on interim suspension; and (ii) conduct a welfare check of Plaintiff because of:

(a) a report of an alleged assault by Plaintiff against another AU student; and (b) information

obtained from Professor Knee. The remaining allegations in paragraph 112 consist of legal

conclusions, Plaintiff’s litigation positions, or are directed at co-Defendants to which no response

is required. To the extent a response is required, the remaining allegations in paragraph 112 are

denied.

          113.   The AU Defendants admit only that American University does not own the

Frequency Apartments, but rather leases units in the apartments to AU students. The remaining

allegations in paragraph 113 consist of legal conclusions, Plaintiff’s litigation positions, and

characterize a document that is not attached to the Complaint to which no response is required. To

the extent a response is required, the AU Defendants lack sufficient knowledge to admit or deny

the remaining allegations in paragraph 113 and, therefore, deny same.

          114.   The allegations in paragraph 114 characterize a document that is not attached to the

Complaint. The allegations in paragraph 114 also consist of legal conclusions and Plaintiff’s

litigation positions, to which no response is required. To the extent a response is required, the AU

Defendants deny the allegations in paragraph 114.

          115.   The AU Defendants admit only that American University Police Department

officers obtained lawful access to Plaintiff’s apartment and entered the apartment, as they sought

to meet with Plaintiff in order to: (i) advise her that she was on interim suspension; and (ii) conduct

a welfare check of Plaintiff because of: (a) a report of an alleged assault by Plaintiff against another

AU student; and (b) information obtained from Professor Knee. Based on what AUPD observed

and their knowledge of Plaintiff’s prior interaction with the AUPD and others at the University,

the AU Defendants had a good faith belief that Plaintiff was a danger to herself or others. The AU



                                                  23
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 24 of 51




Defendants further admit that Captain Barrett unlocked Plaintiff’s door and entered the apartment

with another AUPD officer. The AU Defendants deny that they did not have a good faith belief

that Plaintiff was a danger to herself or others. The AU Defendants lack sufficient knowledge to

admit or deny the remaining allegations in paragraph 115 and, therefore, deny same.

       116.    The AU Defendants admit only that American University Police Department

officers obtained lawful access to Plaintiff’s apartment and entered the apartment as they sought

to meet with Plaintiff in order to: (i) advise her that she was on interim suspension; and (ii) conduct

a welfare check of Plaintiff because of: (a) a report of an alleged assault by Plaintiff against another

AU student; and (b) information obtained from Professor Knee. Based on what AUPD observed

and their knowledge of Plaintiff’s prior interaction with the AUPD and others at the University,

the AU Defendants had a good faith belief that Plaintiff was a danger to herself or others. The AU

Defendants further admit that approximately seven hours had passed since the incident in Hurst

Hall and that the only contact with the other AU student was Plaintiff’s hand on her shoulder and

threatening behavior. The remaining allegations in paragraph 116 consist of legal conclusions and

Plaintiff’s litigation positions to which no response is required. To the extent a response is

required, the remaining allegations in paragraph 116 are denied.

       117.    The AU Defendants admit only that American University Police Department

officers obtained lawful access to Plaintiff’s apartment and entered the apartment as they sought

to meet with Plaintiff in order to: (i) advise her that she was on interim suspension; and (ii) conduct

a welfare check of Plaintiff because of: (a) a report of an alleged assault by Plaintiff against another

AU student; and (b) information obtained from Professor Knee. Based on what AUPD observed

and their knowledge of Plaintiff’s prior interaction with the AUPD and others at the University,

the AU Defendants had a good faith belief that Plaintiff was a danger to herself or others. The



                                                  24
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 25 of 51




remaining allegations in paragraph 117 consist of Plaintiff’s litigation positions to which no

response is required. To the extent a response is required, the remaining allegations in paragraph

117 are denied.

          118.   The allegations in paragraph 118 characterize video that is not attached to the

Complaint. The AU Defendants deny that the American University Police officers were wearing

body cameras and can neither admit nor deny Plaintiff’s characterization of her state of mind or

her physical actions and, therefore, deny same.

          119.   In response to the allegations in paragraph 119, the AU Defendants deny that

Defendant Barrett called Defendant Brown as alleged. The AU Defendants lack sufficient

knowledge to admit or deny the remaining allegations in paragraph 119 and, therefore, deny same.

          120.   The AU Defendants deny that Plaintiff had a “calm reaction.” The remaining

allegations in paragraph 120 consist of Plaintiff’s litigation positions to which no response is

required. To the extent a response is required, the allegations in paragraph 120 are denied.

          121.   The AU Defendants admit only that they encouraged Plaintiff to voluntarily agree

to in-patient psychiatric care, which she refused. The AU Defendants deny that Plaintiff was not

in any way threatening or aggressive toward the officers. The remaining allegations in paragraph

121 consist of legal conclusions and Plaintiff’s litigation positions, to which no response is

required. To the extent a response is required, the remaining allegations in paragraph 121 are

denied.

          D.      Unlawful Continued Presence in Ms. Wheeler’s Home

          122.   The allegations in paragraph 122 are denied.

          123.   The AU Defendants admit only that American University Police Department

officers had lawful access to the apartment and lawfully entered the apartment as they sought to



                                                  25
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 26 of 51




meet with Plaintiff in order to: (i) advise her that she was on interim suspension; and (ii) conduct

a welfare check of Plaintiff because of: (a) a report of an alleged assault by Plaintiff against another

AU student; and (b) information obtained from Professor Knee. Based on what AUPD observed

and their knowledge of Plaintiff’s prior interaction with the AUPD and others at the University,

the AU Defendants had a good faith belief that Plaintiff was a danger to herself or others. The

AUPD officers encouraged Plaintiff to voluntarily agree to in-patient psychiatric care, which she

refused. The AU Defendants lack sufficient knowledge to admit or deny the remaining allegations

in paragraph 123 and, therefore, deny same.

       124.    In response to the allegations in paragraph 124, the AU Defendants deny the phone

calls with Defendant Brown as alleged. The AU Defendants lack sufficient knowledge to admit

or deny the remaining allegations in paragraph 124 and, therefore, deny same.

       125.    The AU Defendants admit only that American University Police Department

officers had lawful access to the apartment and lawfully entered the apartment as they sought to

meet with Plaintiff in order to: (i) advise her that she was on interim suspension; and (ii) conduct

a welfare check of Plaintiff because of: (a) a report of an alleged assault by Plaintiff against another

AU student; and (b) information obtained from Professor Knee. Based on what AUPD observed

and their knowledge of Plaintiff’s prior interaction with the AUPD and others at the University,

the AU Defendants had a good faith belief that Plaintiff was a danger to herself or others. The

AUPD officers encouraged Plaintiff to voluntarily agree to in-patient psychiatric care, which she

refused. The AU Defendants further admit that the encounter lasted approximately three hours.

The remaining allegations in paragraph 125 consist of legal conclusions and Plaintiff’s litigation

positions, to which no response is required. To the extent a response is required, the remaining

allegations in paragraph 125 are denied.



                                                  26
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 27 of 51




       126.   The allegations in paragraph 126 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 126 and, therefore, deny same.

       127.   The allegations in paragraph 127 characterize a document and videos that are not

attached to the Complaint. The AU Defendants lack sufficient knowledge to admit or deny the

allegations in paragraph 127 and, therefore, deny same.

       128.   The allegations in paragraph 128 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 128 and, therefore, deny same.

       129.   The allegations in paragraph 129 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 129 and, therefore, deny same.

       130.   The allegations in paragraph 130 characterize a document and videos that are not

attached to the Complaint. The AU Defendants lack sufficient knowledge to admit or deny the

allegations in paragraph 130 and, therefore, deny same.

       131.    The allegations in paragraph 130 characterize a video that is not attached to the

Complaint. The AU Defendants are lack sufficient knowledge to admit or deny the allegations in

paragraph 131 and, therefore, deny same.

       132.   The allegations in paragraph 132 characterizes documents that are not attached to

the Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 132 and, therefore, deny same.




                                               27
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 28 of 51




          133.   The allegations in paragraph 133 characterizes documents that are not attached to

the Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 133 and, therefore, deny same.

          134.   The AU Defendants deny that Defendant Barrett and the AUPD officers had no

reasonable belief that Plaintiff was a danger to herself or others. The AU Defendants lack

sufficient information to admit or deny the remaining allegations in paragraph 134 and, therefore,

deny same.

          135.   The AU Defendants admit only that once the EMTs left the apartment, the AUPD

and MPD officers remained. The AU Defendants lack sufficient knowledge to admit or deny the

remaining allegations in paragraph 135 and, therefore, deny same.

          E.     Unlawful Arrest

          136.   The AU Defendants admit only that Plaintiff was loud, cursing, and that she

disrobed.      The AU Defendants lack sufficient knowledge to admit or deny the remaining

allegations in paragraph 136 and, therefore, deny same.

          137.   The allegations in paragraph 137 consist of Plaintiff’s litigation positions to which

no response is required. To the extent a response is required, the allegations in paragraph 137 are

denied.

          138.   The allegations in paragraph 138 consist of legal conclusions about what the AUPD

officers should have done, to which no response is required. To the extent a response is required,

the allegations in paragraph 138 are denied.

          139.   The AU Defendants admit only that AUPD officers restrained Plaintiff for her and

their safety and placed a blanket around her. The allegations in paragraph 139 characterize a video

that is not attached to the Complaint. Furthermore, some of the allegations in paragraph 139 relate



                                                  28
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 29 of 51




to the co-Defendants, to which no response is required. The AU Defendants lack sufficient

knowledge to admit or deny the remaining allegations in paragraph 139 and, therefore, deny same.

       140.    The AU Defendants admit only that at approximately 10:15 pm, AUPD officers

carried Plaintiff to an AUPD vehicle and drove her to Washington Hospital Center.



       F.      Forced Hospitalization at an In-Patient Psychiatric Facility

       141.    The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 141 and, therefore, deny same.

       142.    The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 142 and, therefore, deny same.

       143.    The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 143 and, therefore, deny same.

       144.    The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 144 and, therefore, deny same.

       145.    The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 145 and, therefore, deny same.

       G.      Post-Incident Response

       146.    The AU Defendants substantially admit the allegations in paragraph 146.

       147.    The AU Defendants admit only that there was a disciplinary hearing on October

28, 2019 and that the location was moved due to security concerns. The remaining allegations in

paragraph 147 consist of Plaintiff’s litigation positions to which no response is required. To the

extent a response is required, the remaining allegations in paragraph 147 are denied.




                                               29
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 30 of 51




       148.    The AU Defendants admit only that they followed University protocol in

conducting the October 28, 2019 disciplinary hearing. The remaining allegations in paragraph 148

consist of legal conclusions and Plaintiff’s litigation positions to which no response is required.

To the extent a response is required, the remaining allegations in paragraph 148 are denied.

       149.    The AU Defendants admit only that Plaintiff was found “not responsible.” The

remaining allegations in paragraph 149 consist of legal conclusions and Plaintiff’s litigation

positions to which no response is required. To the extent a response is required, the remaining

allegations in paragraph 149 are denied.

       150.    The allegations in paragraph 150 characterize a document that is not attached to the

Complaint. The AU Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 150 and, therefore, deny same.

       151.    The AU Defendants admit only that they followed University protocol in

conducting the October 28, 2019 disciplinary hearing and in follow-up to that hearing. The

allegations in paragraph 151 characterize a document that is not attached to the Complaint. The

AU Defendants lack sufficient knowledge to admit or deny the remaining allegations in paragraph

151 and, therefore, deny same.

VII.   AU RESPONSE TO OTHER ALLEGED STUDENT MISCONDUCT

       152.    The AU Defendants are without sufficient knowledge to admit or deny the

allegations in paragraph 152 and, therefore, deny same.

       153.    The allegations in paragraph 153 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations are substantially admitted and further the AU Defendants state that disciplinary

protocols were followed with respect to Plaintiff.



                                                30
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 31 of 51




       154.    The allegations in paragraph 154 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the AU

Defendants are without sufficient knowledge to admit or deny the allegations in paragraph 154

and, therefore, deny same.

       155.    The allegations in paragraph 155 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, The AU

Defendants are without sufficient knowledge to admit or deny the allegations in paragraph 155

and, therefore, deny same.

       156.    The allegations in paragraph 156 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 156 are denied.

 COUNT I: VIOLATION OF TITLE III OF THE AMERICANS WITH DISABILITIES
              ACT – 42 U.S.C. § 12101 ET SEQ. – AGAINST AU

       157.    The AU Defendants incorporate their responses to Paragraphs 1-156 of the

Complaint as if fully recited.

       158.    The allegations in Paragraph 158 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 158 are denied.

       159.    The allegations in Paragraph 159 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 159 are denied.

       160.    The allegations in Paragraph 160 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 160 are denied.

       161.    The allegations in Paragraph 161 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 161 are denied.




                                                31
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 32 of 51




       162.    The allegations in Paragraph 162 consist of legal conclusions to which no response

is required. To the extent the allegations are factual in nature and a response is required, the

allegations in paragraph 162 are denied.

       163.    The allegations in Paragraph 163 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 163 are denied.

       164.    The allegations in Paragraph 164 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 164 are denied.

       165.    The allegations in Paragraph 165 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 165 are denied.

       166.    The allegations in Paragraph 166 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 166 are denied.

       167.    The allegations in Paragraph 167 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 167 are denied.

       168.    The allegations in paragraph 168 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 168 are denied.

       169.    The allegations in paragraph 169 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 169 are denied.

       170.    The allegations in paragraph 170 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 170 are denied.




                                                32
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 33 of 51




       171.    The allegations in paragraph 171 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 171 are denied.

       172.    The allegations in paragraph 172 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 172 are denied.

       173.    The allegations in paragraph 173 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 173 are denied.

       174.    The allegations in paragraph 174 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 174 are denied.

              COUNT II: VIOLATION OF SECTION 504 OF THE
      REHABILITATION ACT OF 1973 – 29 U.S.C. § 794 ET SEQ. – AGAINST AU

       175.    The AU Defendants incorporate their responses to Paragraphs 1-174 of the

Complaint as if fully recited.

       176.    The allegations in Paragraph 176 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 176 are denied.

       177.    The allegations in Paragraph 177 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 177 are denied.

       178.    The allegations in Paragraph 178 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 178 are denied.

       179.    The allegations in Paragraph 179 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 179 are denied.

                                                33
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 34 of 51




       180.    The allegations in paragraph 180 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent the allegations are factual in

nature and a response is required, the allegations in paragraph 180 are denied.

       181.    The allegations in paragraph 181 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 181 are denied.

       182.    The allegations in paragraph 182 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 182 are denied.

       183.    The allegations in paragraph 183 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 183 are denied.

       184.    The allegations in paragraph 184 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 184 are denied.

       185.    The allegations in paragraph 185 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 185 are denied.

       186.    The allegations in paragraph 186 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 186 are denied.




                                                34
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 35 of 51




       187.    The allegations in paragraph 187 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 187 are denied.

       188.    The allegations in paragraph 188 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 188 are denied.

       189.    The allegations in paragraph 189 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 189 are denied.

       190.    The allegations in paragraph 190 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 190 are denied.

       191.    The allegations in paragraph 191 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 191 are denied.

       192.    The allegations in paragraph 192 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 192 are denied.

              COUNT III: VIOLATIONS OF D.C. HUMAN RIGHTS ACT –
                  D.C. CODE § 2-1401.01 ET SEQ. – AGAINST AU

       193.    The AU Defendants incorporate their responses to Paragraphs 1-192 of the

Complaint as if fully recited.

       194.    The allegations in Paragraph 194 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 194 are denied.

                                                35
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 36 of 51




       195.    The allegations in Paragraph 195 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 195 are denied.

       196.    The allegations in Paragraph 196 consist of legal conclusions to which no response

is required. To the extent the allegations are factual in nature and a response is required, the

allegations in paragraph 196 are denied.

       197.    The allegations in Paragraph 197 consist of legal conclusions to which no response

is required. To the extent the allegations are factual in nature and a response is required, the

allegations in paragraph 197 are denied.

       198.    The allegations in paragraph 198 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent the allegations are factual in

nature and a response is required, the allegations in paragraph 198 are denied.

       199.    The allegations in paragraph 199 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 199 are denied.

       200.    The allegations in paragraph 200 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 200 are denied.

       201.    The allegations in paragraph 201 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 201 are denied.

              COUNT IV: VIOLATION OF THE FOURTH AMENDMENT –
                UNLAWFUL ENTRY – AGAINST ALL DEFENDANTS

       202.    The AU Defendants incorporate their responses to Paragraphs 1-201 of the

Complaint as if fully recited.

                                                36
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 37 of 51




        203.   The allegations in Paragraph 203 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 203 are denied.

        204.   The allegations in Paragraph 204 consist of legal conclusions to which no response

is required.

        205.   The allegations in Paragraph 205 are not directed at the AU Defendants, therefore,

no response is required.

        206.   The allegations in Paragraph 206 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 206 are denied.

        207.   The allegations in Paragraph 207 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 207 are denied.

        208.   The allegations in paragraph 208 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and in

response to the allegations directed at the AU Defendants only, the allegations in paragraph 208

are denied.

        209.   The allegations in paragraph 209 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and in

response to the allegations directed at the AU Defendants only, the allegations in paragraph 209

are denied.

        210.   The allegations in paragraph 210 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 210 are denied.




                                                37
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 38 of 51




        211.   The allegations in paragraph 211 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 211 are denied.

        212.   The allegations in paragraph 212 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 212 are denied.

        213.   The allegations in paragraph 213 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 213 are denied.

               COUNT V: VIOLATION OF THE FOURTH AMENDMENT –
               UNREASONABLE SEIZURE – AGAINST ALL DEFENDANTS

        214.   The AU Defendants incorporate their responses to Paragraphs 1-213 of the

Complaint as if fully recited.

        215.   The allegations in Paragraph 215 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 215 are denied.

        216.   The allegations in Paragraph 216 consist of legal conclusions to which no response

is required.

        217.   The allegations in Paragraph 217 are not directed at the AU Defendants, therefore,

no response is required.

        218.   The allegations in Paragraph 218 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 218 are denied.

        219.   The allegations in Paragraph 219 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 219 are denied.




                                                38
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 39 of 51




          220.   The allegations in Paragraph 220 consist of legal conclusions to which no response

is required. To the extent a response is required, and only in response to allegations directed at the

AU Defendants, the allegations in paragraph 220 are denied.

          221.   The allegations in paragraph 221 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent the allegations are factual in

nature, and only in response to the allegations directed at the AU Defendants, the AU Defendants

lack sufficient knowledge to admit or deny the allegations and, therefore, deny same.

          222.   The allegations in paragraph 222 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. The allegations are also directed at the MPD

officers and, as such, no response is required. To the extent a response is required, the allegations

in paragraph 222 are denied.

          223.   The allegations in paragraph 223 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent the allegations are factual in

nature, the AU Defendants deny the “multiple phone calls” to Defendant Brown as alleged. The

AU Defendants lack sufficient knowledge to admit or deny the remaining allegations and,

therefore, deny same.

          224.   The allegations in paragraph 224 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 224 are denied.

          225.   The allegations in paragraph 225 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to the allegations directed to the AU Defendants, the allegations in paragraph 225 are

denied.



                                                 39
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 40 of 51




        226.   The allegations in paragraph 226 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to the allegations directed to the AU Defendants, the allegations in paragraph 226.

        227.   The allegations in paragraph 227 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 227 are denied.

        228.   The allegations in paragraph 228 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 228 are denied.

               COUNT VI: VIOLATION OF THE FOURTH AMENDMENT –
                   FALSE ARREST – AGAINST ALL DEFENDANTS

        229.   The AU Defendants incorporate their responses to Paragraphs 1-228 of the

Complaint as if fully recited.

        230.   The allegations in Paragraph 230 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 230 are denied.

        231.   The allegations in Paragraph 231 consist of legal conclusions to which no response

is required.

        232.   The allegations in Paragraph 232 are not directed at the AU Defendants, therefore,

no response is required.

        233.   The allegations in Paragraph 233 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 233 are denied.

        234.   The allegations in Paragraph 234 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 234 are denied.




                                                 40
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 41 of 51




          235.   The allegations in paragraph 235 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 235 are

denied.

          236.   The allegations in paragraph 236 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 236 are

denied.

          237.   The allegations in paragraph 237 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 237 are

denied, with the exception that Defendant Brown did not personally observe Ms. Wheeler on

September 26, 2019.

          238.   The allegations in paragraph 238 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 238 are denied.

            COUNT VII: FALSE IMPRISONMENT – DISTRICT OF COLUMBIA
                   COMMON LAW – AGAINST ALL DEFENDANTS

          239.   The AU Defendants incorporate their responses to Paragraphs 1-238 of the

Complaint as if fully recited.

          240.   The allegations in Paragraph 240 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 240 are denied.




                                                 41
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 42 of 51




          241.   The allegations in Paragraph 241 consist of legal conclusions to which no response

is required. To the extent a response is required, and only in response to allegations directed at the

AU Defendants, the allegations in paragraph 241 are denied.

          242.   The allegations in Paragraph 242 consist of legal conclusions to which no response

is required. To the extent a response is required, and only in response to allegations directed at the

AU Defendants, the allegations in paragraph 242 are denied.

          243.   The allegations in paragraph 243 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 243 are denied.

          244.   Admitted.

          245.   The allegations in paragraph 245 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 245 are denied.

          246.   The allegations in paragraph 246 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 246 are denied.

          247.   The allegations in paragraph 247 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 247 are

denied.

          248.   The allegations in paragraph 248 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only




                                                 42
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 43 of 51




in response to allegations directed at the AU Defendants, the allegations in paragraph 248 are

denied.

          249.   The allegations in paragraph 249 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 249 are denied.

          250.   The allegations in paragraph 250 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 250 are denied.

                    COUNT VIII: ASSAULT – DISTRICT OF COLUMBIA
                     COMMON LAW – AGAINST ALL DEFENDANTS

          251.   The AU Defendants incorporate their responses to Paragraphs 1-250 of the

Complaint as if fully recited.

          252.   The allegations in Paragraph 252 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 252 are denied.

          253.   The allegations in paragraph 253 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 253 are

denied.

          254.   The allegations in paragraph 254 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 254 are denied.

          255.   Admitted.




                                                 43
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 44 of 51




          256.   The allegations in paragraph 256 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 256 are denied.

          257.   The allegations in paragraph 257 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 257 are denied.

          258.   The allegations in paragraph 258 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 258 are denied.

          259.   The allegations in paragraph 259 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 259 are denied.

                    COUNT IX: TRESPASS – DISTRICT OF COLUMBIA
                     COMMON LAW – AGAINST ALL DEFENDANTS

          260.   The AU Defendants incorporate their responses to Paragraphs 1-259 of the

Complaint as if fully recited.

          261.   The allegations in Paragraph 261 consist of legal conclusions to which no response

is required. To the extent a response is required, the allegations in paragraph 261 are denied.

          262.   The allegations in paragraph 262 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, and only

in response to allegations directed at the AU Defendants, the allegations in paragraph 262 are

denied.

          263.   Admitted.




                                                 44
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 45 of 51




       264.    The allegations in paragraph 264 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 264 are denied.

       265.    The allegations in paragraph 265 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 265 are denied.

       266.    The allegations in paragraph 266 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 266 are denied.

       267.    The allegations in paragraph 267 consist of legal conclusions and Plaintiff’s

litigation positions to which no response is required. To the extent a response is required, the

allegations in paragraph 267 are denied.

                                 AFFIRMATIVE DEFENSES

                                       FIRST DEFENSE

       The Complaint fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

       Plaintiff’s claims against the AU Defendants may be barred by the statute of limitations,

depending upon facts learned during discovery.

                                       THIRD DEFENSE

       Plaintiff’s claims may be barred by the doctrine(s) of in pari delicto and/or equal fault.

                                      FOURTH DEFENSE

       Plaintiff’s claims may be barred by the doctrine of waiver and/or estoppel, depending upon

the facts learned during discovery.


                                                 45
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 46 of 51




                                         FIFTH DEFENSE

       Plaintiff failed to exhaust administrative remedies as to some or all of her claims.

                                        SIXTH DEFENSE

       The AU Defendants deny that Plaintiff has been damaged as alleged.

                                      SEVENTH DEFENSE

       Plaintiff failed to mitigate her damages, if any.

                                       EIGHTH DEFENSE

       Plaintiff’s claims may be barred under the equitable doctrine of unclean hands.

                                        NINTH DEFENSE

       The AU Defendants acted in accordance with all laws, including the Americans with

Disabilities Act 42 U.S.C. § 42-12101 et seq., the Rehabilitation Act of 1973 29 U.S.C. § 794 et

seq., and the District of Columbia Human Rights Act § 2-1401-01 et seq.

                                       TENTH DEFENSE

       All actions by the AU Defendants stated in the Complaint were for lawful, legitimate, and

non-discriminatory reasons.

                                     ELEVENTH DEFENSE

       The AU Defendants deny any and all alleged violations of Plaintiff’s civil rights, including

any claims of alleged discrimination based on any disability or for any other reason.

                                     TWELFTH DEFENSE

       Plaintiff’s damages, if any, are in whole or in part due to the acts or omissions of other

individuals or entities for which the AU Defendants cannot be held legally responsible.




                                                 46
           Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 47 of 51




                                      THIRTEENTH DEFENSE

           Any loss or damage allegedly sustained by Plaintiff was caused by the acts or omissions of

Plaintiff.

                                     FOURTEENTH DEFENSE

           Plaintiff unreasonably failed to take advantage of preventative and/or corrective

opportunities provided by the AU Defendants or to otherwise avoid harm.

                                       FIFTEENTH DEFENSE

           The AU Defendants implemented effective policies prohibiting discrimination, had

effective procedures in place to address student concerns, and Plaintiff failed to take advantage of

these procedures.

                                       SIXTEENTH DEFENSE

           Plaintiff does not have a disability within the meaning of the Americans with Disabilities

Act, the Rehabilitation Act, or any other statute.

                                     SEVENTEENTH DEFENSE

           Any disability or impairment that Plaintiff may have does not cause a significant limitation

on a major life activity, and Plaintiff does not have any substantial limitation, to entitle Plaintiff to

relief under Americans with Disabilities Act, the Rehabilitation Act, or any other statute.

                                      EIGHTEENTH DEFENSE

           The AU Defendants did not deny Plaintiff the benefits of any programs, facilities,

privileges, advantages, services, and/or accommodations on the basis any disability to entitle

Plaintiff to relief under the Americans with Disabilities Act, the Rehabilitation Act, or any other

statute.




                                                   47
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 48 of 51




                                     NINETEENTH DEFENSE

          Plaintiff was not, solely by reason of her disability, excluded from the participation in,

denied the benefits of, or be subjected to discrimination under any program or activity of the AU

Defendants to entitle Plaintiff to relief under the Americans with Disabilities Act, the

Rehabilitation Act, or any other statute.

                                     TWENTIETH DEFENSE

          The AU Defendants did not treat Plaintiff differently from other similarly situated

individuals or otherwise discriminate against Plaintiff on the basis of any disability or for any other

reason.

                                   TWENTY-FIRST DEFENSE

          Plaintiff failed to provide sufficient notice to the AU Defendants that she was disabled or

otherwise impaired to entitle her to relief under the Americans with Disabilities Act, the

Rehabilitation Act, or any other statute.

                                  TWENTY-SECOND DEFENSE

          Plaintiff failed to timely request accommodations from the AU Defendants for any

disability or impairment under the Americans with Disabilities Act, the Rehabilitation Act, or any

other statute.

                                   TWENTY-THIRD DEFENSE

          There is no causal connection between any alleged disability or impairment of Plaintiff and

any allegedly discriminatory or unlawful action that the AU Defendants allegedly took against her.

                                  TWENTY-FOURTH DEFENSE

          The AU Defendants’ actions that are the subject of Plaintiff’s Complaint were supported by

probable cause and did not intrude upon any right to privacy of Plaintiff.



                                                  48
          Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 49 of 51




                                    TWENTY-FIFTH DEFENSE

          The AU Defendants expressly deny any and all allegations in the Complaint not

specifically admitted herein.

                                    TWENTY-SIXTH DEFENSE

          The AU Defendants deny that some or all of the AU Defendants acted under the color of

state law.

                                  TWENTY-SEVENTH DEFENSE

          To the extent that some or all of the AU Defendants acted under the color of state law, they

may be entitled to qualified immunity, based on facts learned during discovery.

                                   TWENTY-EIGHTH DEFENSE

          At all relevant times, the AU Defendants acted with legal authority and/or with

justification.

                                    TWENTY-NINTH DEFENSE

          Plaintiff’s claims are barred by consent.

                                       THIRTIETH DEFENSE

          Plaintiff’s claims are barred by privilege.

                                     THIRTY-FIRST DEFENSE

          Plaintiff’s claims are barred by D.C. Code § 21-521.

                                   THIRTY-SECOND DEFENSE

          At all relevant times, the AU Defendants acted in good faith, reasonably, and without

malice.

                                     THIRTY-THIRD DEFENSE

          Plaintiff is not entitled to punitive damages.



                                                      49
        Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 50 of 51




                                  THIRTY-FOURTH DEFENSE

        To the extent not covered by the preceding paragraphs and defenses, the AU Defendants deny

any and all liability and demand strict proof of all allegations in the Complaint.

                                   THIRTY-FIFTH DEFENSE

        The AU Defendants will rely upon all defenses lawfully available to them including, but not

limited to, those already asserted herein, and expressly reserve the right to amend their Answer to add

additional defenses as discovery and investigation may warrant up to and including trial.

        WHEREFORE, Defendants American University, Jeffrey Brown, Kevin Barrett, Michael

Vena, and Joseph Joyner respectfully request that Plaintiff’s Complaint be dismissed with

prejudice, with costs, attorneys’ fees, and interest as provided by law assessed against Plaintiff,

and that Defendants be granted such other and further relief as this honorable Court deems just

and proper.

                                                        AMERICAN UNIVERSITY, JEFFREY
                                                        BROWN, KEVIN BARRETT, MICHAEL
                                                        VENA, AND JOSEPH JOYNER
                                                        By Counsel

                                                By:     /s/Paul J. Maloney
                                                        Paul J. Maloney, #362533
                                                        Matthew D. Berkowitz, #974170
                                                        Brian M. O’Shea, #1600057
                                                        Carr Maloney P.C.
                                                        2020 K Street, NW, Suite 850
                                                        Washington, D.C. 20006
                                                        202-310-5500 (Telephone)
                                                        202-310-5555 (Facsimile)
                                                        paul.maloney@carrmaloney.com
                                                        mattew.berkowitz@carrmaloney.com
                                                        brian.o’shea@carrmaloney.com
                                                        Counsel for Defendants American
                                                        University, Jeffrey Brown, Kevin Barrett,
                                                        Michael Vena, and Joseph Joyner




                                                  50
       Case 1:20-cv-02735-CRC Document 12 Filed 01/04/21 Page 51 of 51




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 4th day of January 2021, a true and correct copy of the
foregoing was served electronically to the following:

                                   Kaitlin R. Banner
                                   Tristin Brown
                                   Dennis Corkery
                                   Margaret Hart
                                   Hannah Lieberman
                                   Washington Lawyers Committee for
                                   Civil Rights and Urban Affairs
                                   700 14th Street, N.W., Suite 400
                                   Washington, D.C. 20005
                                   Counsel for Plaintiff

                                   Robert A. DeBerardinis, Jr.
                                   Senior Assistant Attorney General
                                   District of Columbia Office of the Attorney General
                                   Civil Litigation Division
                                   400 6th Street, N.W.
                                   Washington, D.C. 20001
                                   Counsel for Defendant Stephen Kinzer

                                   Deborah Smith
                                   c/o Metropolitan Police Department
                                   300 Indiana Avenue, N.W.
                                   Washington, D.C. 20001
                                   Defendant

                                   Richard David
                                   c/o Metropolitan Police Department
                                   300 Indiana Avenue, N.W.
                                   Washington, D.C. 20001
                                   Defendant

                                                 /s/Paul J. Maloney
                                                 Paul J. Maloney




                                            51
